
658 S.E.2d 273 (2008)
STATE of North Carolina
v.
Darlene Lackey HALL.
No. 13P08.
Supreme Court of North Carolina.
January 24, 2008.
Darlene L. Hall, Pro Se.
Ashby T. Ray, Assistant Attorney General, Garry W. Frank, District Attorney, for State of NC.


*274 ORDER

Upon consideration of the petition filed on the 8th day of January 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th day of January 2008."
